Case 2:16-cr-20732-RHC-RSW ECF No. 200 filed 06/13/18             PageID.2001     Page 1 of 4
                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION



 UNITED STATES OF AMERICA,

                Plaintiff,
                                                         Case No. 16-cr-20732-RHC
 vs.
                                                         Hon. Robert H. Cleland
 DEAN REYNOLDS,

            Defendant.
 ____________________________________/

                   EX PARTE MOTION FOR APPOINTMENT
       OF COUNSEL UNDER THE CRIMINAL JUSTICE ACT 18 U.S.C. § 3006(A)

         NOW COMES the Defendant, DEAN REYNOLDS, by and through his attorney,

 Stephen T. Rabaut, and pursuant to the Criminal Justice Act, 18 USC §3006(a), moves this

 Honorable Court for entry of an Order appointing Stephen T. Rabaut as his court appointed

 counsel for the remainder of this case.

         1.     The undersigned has represented the Defendant since October 13, 2016, the

 date of his initial arrest in the within matter.

         2.     Defendant has paid the undersigned counsel $40,000.00.

         3.     That the within matter involves an enormous amount of discovery and

 extensive pretrial preparation.

         4.     Defendant is indigent and can no longer pay legal fees.
Case 2:16-cr-20732-RHC-RSW ECF No. 200 filed 06/13/18           PageID.2002    Page 2 of 4
       5.     Defense counsel and his client both request that the Court appoint the

 undersigned as counsel from May 23, 2018 and for the duration of this case.

                                          Respectfully requested,

                                          /s/ Stephen T. Rabaut
                                          STEPHEN T. RABAUT (P 31143)
                                          Attorney for Defendant
                                          16931 19 Mile Road, Ste. 100
                                          Clinton Township, MI 48038
                                          (586) 263-1600
                                          srabautlaw@me.com
 Dated: May 24, 2018
Case 2:16-cr-20732-RHC-RSW ECF No. 200 filed 06/13/18                PageID.2003     Page 3 of 4


                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

               Plaintiff,
                                                           Case No. 16-cr-20732-RHC
 vs.
                                                           Hon. Robert H. Cleland
 DEAN REYNOLDS,

            Defendant.
 ____________________________________/

                  MEMORANDUM OF LAW IN SUPPORT OF
            IN CAMERA MOTION FOR APPOINTMENT OF COUNSEL
              UNDER THE CRIMINAL JUSTICE ACT 18 U.S.C. § 3006

        In support of his Motion, Defendant, Dean Reynolds, relies on Criminal Justice

 Act 18 U.S.C. (A), which provides at Section (c) Duration . . . of appointments, that . . . if

 at any stage of the proceedings . . . the Court finds that the person is financially unable to

 pay counsel whom he has retained, it may appoint counsel.

        WHEREFORE, Defendant prays that this Honorable Court grant his request and

 appoint the undersigned as counsel for the duration of this case.

                                            Respectfully requested,

                                            /s/ Stephen T. Rabaut
                                            STEPHEN T. RABAUT (P 31143)
                                            Attorney for Defendant
                                            16931 19 Mile Rd., Ste. 100
                                            Clinton Township, MI 48038
                                            (586) 263-1600
                                            srabautlaw@me.com

 Dated: May 24, 2018
Case 2:16-cr-20732-RHC-RSW ECF No. 200 filed 06/13/18          PageID.2004      Page 4 of 4


                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

              Plaintiff,
                                                       Case No. 16-cr-20732-RHC
 vs.
                                                       Hon. Robert H. Cleland
 DEAN REYNOLDS,

            Defendant.
 ____________________________________/


         ORDER APPOINTING STEPHEN T. RABAUT AS CJA COUNSEL

       The Court having read Defendant’s In Camera and Ex Parte Motion to Appoint

 Counsel of Record under the Criminal Justice Act 18 U.S.C. § 3006(a), and being fully

 apprised in the premises;

       IT IS HEREBY ORDERED that Stephen T. Rabaut is appointed as CJA counsel to

 represent Defendant, Dean Reynolds, nunc pro tunc to May 23, 2018.


                                          S/Robert H. Cleland
                                         ROBERT H. CLELAND
                                         UNITED STATES DISTRICT JUDGE

 Dated: June 13, 2018


 I hereby certify that a copy of the foregoing document was mailed to counsel of record
 and/or pro se parties on this date, June 13, 2018, by electronic and/or ordinary mail.


                                          S/Lisa Wagner
                                         Case Manager and Deputy Clerk
                                         (810) 292-6522
